
231 P.3d 165 (2010)
168 Wash.2d 1023
Melissa SHEFFIELD, Respondent,
v.
GOODYEAR TIRE &amp; RUBBER CO. and Randy Reich, Petitioners.
No. 83871-2.
Supreme Court of Washington.
March 31, 2010.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Madsen and Justices Alexander, Chambers, Fairhurst and Stephens, considered at its March 30, 2010, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is denied. Respondent's answer and cross-petition for review is also denied. The Respondent's request for attorney fees is granted. The Respondent is awarded reasonable attorney fees and expenses pursuant to RAP 18.1(j). The amount of the attorney fees and expenses will be determined by the Supreme Court Clerk pursuant to RAP 18.1. Pursuant to RAP 18.1(d), Respondent should file *166 an affidavit with the Clerk of the Washington State Supreme Court.
For the Court
/s/ Madsen, C.J.
CHIEF JUSTICE
